                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      NO. 3:12-00013
                                                   )      JUDGE CAMPBELL
MANILA VICHITVONGSA                                )

                                           ORDER

       The Court is in receipt of a pro se letter from Defendant Manila Vichitvongsa (Docket No.

195) requesting new counsel (Docket No. 195). The Court held a hearing on the request on August

16, 2012. At the hearing, Defendant withdrew his request for new counsel.

       It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




 Case 3:12-cr-00013        Document 203       Filed 08/16/12     Page 1 of 1 PageID #: 500
